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                                                      May 15, 2023

  VIA ECF

  Special Master the Honorable Thomas Vanaskie
  Stevens & Lee
  1500 Market Street, East Tower
  18th Floor
  Philadelphia, PA 19103


           Re:       In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                     Case No. 1:19-md-02875-RBK-SAK



  Dear Special Master Vanaskie:

           This letter is to provide Defendants’ position with respect to the topics on the agenda for

  the Teleconference with Your Honor on May 17, 2023. The parties do not expect the need to

  discuss any confidential materials as part of these agenda items.

                 1. Rule 702 Motion to Seal Briefing Schedule

           The parties have discussed and agreed on a proposed joint extension of the currently

  applicable deadlines related to documents designated confidential that were filed in redacted form

  on the public docket in connection with the Rule 702 briefing on case-specific liability experts

  completed on April 25, 2023. The parties propose that the deadline for filing any motions to seal

  be extended from May 25, 2023, to June 15, 2023, to allow the parties to meet and confer and brief

  only those issues which cannot be resolved by agreement, with the corresponding deadline for

  responding to any sealing motions being extended to July 10, 2023. If the Court approves, the

  parties can prepare a proposed order memorializing these new deadlines.


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                2. Discovery Requests Relating to Plaintiffs’ Proposed Class Notice Program

           The Manufacturer Defendants have served Plaintiffs with ten discovery requests relating

  to Plaintiffs’ Motion for Approval of Form and Manner of Class Notice [Dkt. 2375] (“Class Notice

  Plan”), filed on May 10, 2023. According to the accompanying Declaration of Steven Weisbrot,

  Esq. [Dkt. 2375-4] (“Weisbrot Dec.”), the Class Notice Plan contemplates notice to the Third-

  Party Payor (“TPP”) Economic Loss Class by “direct notice via mail to approximately 28,500

  mailing addresses on Angeion’s proprietary third-party payor list,” which “consists of drug stores,

  pharmacies, insurance companies, and health, welfare, and pension funds,” plus such other TPPs

  via mail or email as Defendants may provide. (Weisbrot Dec. ¶ 16). The Class Notice Plan further

  contemplates notice to the Consumer Economic Loss Class and Medical Monitoring Class by

  Programmatic Display Advertising, including a variety of digital tactics, social media tactics, and

  paid search campaigns, all of which are described in general terms in Mr. Weisbrot’s Declaration,

  together with unsubstantiated estimates of the anticipated reach and frequency of the proposed

  digital advertising campaign. (Id. ¶¶ 13-14, 23-24, 26, 29, 31-32, 34, 39-40).

           It is Plaintiffs’ burden to demonstrate that their Class Notice Plan provides “the best notice

  that is practicable under the circumstances, including individual notice to all members who can be

  identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). The Third Circuit is “stringent

  in enforcing the individual notice requirements.” Byrd v. Aaron’s Inc., 784 F.3d 154, 164 (3d Cir.

  2015); see also Larson v. AT&T Mobility LLC, 687 F.3 109, 126 (3d Cir. 2012). The Manufacturer

  Defendants are unable to determine, from the face of the Class Notice Plan and supporting

  materials, whether and how it achieves the goals of “the best notice that is practicable” and

  “individual notice to all class members who can be identified through reasonable effort.”
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           Notably, Plaintiffs’ Class Notice Plan does not employ any of the methods identified by

  Plaintiffs’ ascertainability expert, Laura R. Craft [Dkt. 1748-2 (“Craft Decl.”)], submitted in

  support of Plaintiffs’ Motion for Class Certification. Ms. Craft described methodologies she

  contended could be employed to “identify consumer and TPP Class Members using electronic data

  common to the Proposed Classes.” (Craft Decl. ¶ 8 (emphasis added); see also id. ¶¶ 9-72). The

  District Court’s class certification opinion relied upon Ms. Craft’s methodologies in finding

  Plaintiffs had satisfied Rule 23’s implied ascertainability requirement. [See Dkt. 2261 at 24-29,

  41-42, 66-67]. Yet Plaintiffs’ Class Notice Plan does not propose to use any of Ms. Craft’s

  methodologies to identify class members to receive individual notice under Rule 23(c)(2)(B).

  Instead, Plaintiffs have proposed to notify TPP Class members by use of a previously undisclosed

  and unevaluated “proprietary third-party payor list” that includes entities that are not part of the

  TPP Economic Loss Class—specifically, “drug stores” and “pharmacies.” Plaintiffs have further

  proposed to notify potential Consumer Economic Loss and Medical Monitoring Class members

  through a digital media campaign that, evidently, does not contemplate any individual notices at

  all. The disconnect between Plaintiffs’ ascertainability showing and their Class Notice Plan raises

  serious concerns as to whether the Class Notice Plan satisfies Rule 23(c)(2)(B)’s “best notice

  practicable” and “individual notice” requirements. See Carrera v. Bayer Corp., 727 F.3d 300, 305-

  06 (3d Cir. 2013) (noting that one of the purposes of the ascertainability requirement is to “protect[]

  absent class members by facilitating the bast notice practicable under Rule 23(c)(2) in a Rule

  23(b)(3) action”).

           To address these concerns and to evaluate the sufficiency of Plaintiffs’ Class Notice Plan,

  the Manufacturer Defendants sent a letter to the Plaintiffs’ Executive Committee (“PEC”) on May
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  11, 2023, containing ten discovery requests. See Letter from G. Ostfeld dated May 11, 2023,

  attached hereto as Exhibit A. The ten discovery requests seek to explore, inter alia: the contents

  of the mailing list proposed to be used for notice to the TPP Economic Loss Class; a more complete

  description and details of the proposed Programmatic Display Advertising campaign, digital

  tactics, social media tactics, and paid search campaign to be used for notice to the Consumer

  Economic Loss and Medical Monitoring Classes; the bases and calculation of Mr. Weisbrot’s rate

  and frequency estimates; the performance metrics and reports to be used as part of the digital

  campaign; the contents of the proposed dedicated web-site and scripts for the toll-free telephone

  support number; and the deposition of Mr. Weisbrot. The Manufacturer Defendants believe all of

  these requests are directly relevant to the requirements of Rule 23(c)(2).

           Counsel for Plaintiffs and the Manufacturer Defendants held an initial meet-and-confer call

  on Friday, May 12, 2023, and made some progress on the requests, with many open questions

  remaining. Although the Manufacturer Defendants intend to continue their discussions with

  Plaintiffs’ counsel and hope many of the discovery requests can be resolved by agreement, any

  issues that remain unresolved by the time of the May 17, 2023 biweekly meeting may require the

  Special Master’s attention, as Defendants’ response to the Class Notice Plan is currently due on

  May 24, 2023, pursuant to Case Management Order 32 [Dkt. 2343] (“CMO 32”), entered by the

  District Court on April 21, 2023. See CMO 32 § 2.0 (ordering a response to the Class Notice Plan

  by May 24, 2023).

           Due to the many unresolved discovery requests and uncertainties concerning the scope and

  effect of Plaintiffs’ Class Notice Plan, the Manufacturer Defendants also request that the Court

  extend the deadline for Defendants’ response to the Class Notice Plan. The parties had originally
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  agreed and proposed that Defendants submit their responses and objections to Plaintiffs’ Class

  Notice Plan by June 7, 2023, with Plaintiffs’ reply due June 28, 2023, with Plaintiffs stating they

  were also “willing” to enter a shorter schedule. See Plaintiffs’ Letter to Judge Kugler dated April

  12, 2023 [Dkt. 2338] at 3; Defendants’ Letter to Judge Kugler dated April 12, 2023 [Dkt. 2339] at

  2. The District Court adopted the shorter schedule in CMO 32, setting a response deadline of May

  24, 2023 and a reply deadline of June 7, 2023. Given the complexity of Plaintiffs’ Class Notice

  Plan, the submission of an expert declaration in support of the plan, the necessity of discovery to

  understand the details of the plan, and the fact that certain important aspects of the Class Notice

  Plan (e.g. the contents of the web site and scripts for the toll-free telephone support number) are

  not yet ready, the Manufacturer Defendants respectfully submit the original briefing scheduled

  agreed by the parties is more appropriate to enable discovery to be completed and to facilitate a

  full and meaningful evaluation of the Class Notice Plan in accordance with the rigorous

  requirements of Rule 23(c)(2).

                3. MSPRC Discovery Deficiencies

           The TPP Defendants intend to move for an order to show cause why Plaintiff MSP

  Recovery Claims, Series LLC (“MSPRC”) should not be sanctioned under Fed. R. Civ. P. 37(b),

  for its failure to comply with Special Master Order No. 73 [Dkt. 2249] (“SMO 73”), entered by

  the Special Master on January 24, 2023, and CMO 32. SMO 73 ordered MSPRC to produce “the

  documents reflecting the subsidies, reimbursements, and rebates it received from CMS during the

  time period for which it is seeking damages.” SMO 73 at 4. CMO 32 ordered MSPRC to complete

  its rolling productions by May 3, 2023. CMO 32 § 3.0. Notwithstanding these two orders, MSPRC

  failed to produce the substantial majority of documents responsive to SMO 73 by May 3, 2023.
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  The TPP Defendants wrote to MSPRC’s counsel and the PEC on May 9, 2023, demanding

  production of the missing documents by Friday, May 12, 2023. See Letter from G. Ostfeld dated

  May 9, 2023, attached hereto as Exhibit B. MSPRC responded on May 12, 2023, refusing to

  producing any additional documents. See Letter from J. Mestre dated May 12, 2023, attached

  hereto as Exhibit C.

           The parties have set a meet-and-confer for Tuesday, May 17, 2023. If that meet-and-confer

  does not result in MSPRC’s full compliance with SMO 73 and CMO 32, the TPP Defendants

  intend to proceed with their motion for an order to show cause. Because production of the missing

  documents is necessary for the TPP Defendants to complete their damages expert reports, which

  are due on June 7, 2023, the TPP Defendants include this issue in their position statement so that

  the Special Master may address it at the May 17, 2023 biweekly meeting, ahead of that deadline.

  The TPP Defendants further propose that the June 7, 2023 deadline should be extended until 35

  days after Plaintiffs comply in full with SMO 73, in order to preserve the timeline contemplated

  by CMO 32 and 32A that the TPP Defendants’ damages expert reports would be due 35 days after

  MSPRC completed its rolling production of documents directed by SMO 73.

           A.       SMO 73 Ordered MSPRC to Produce Responsive Subsidy, Reimbursement,
                    and Rebate Documents and Data, Which Include 14 Categories of Standard
                    Reports and Datasets

           SMO 73 granted in part the TPP Defendants’ Joint Motion to Compel Production of

  Documents and Data Relevant to Plaintiff’s Alleged Damages [Dkt. 2178] (“Motion to Compel”).

  Specifically, the Special Master granted the Motion to Compel with respect to Request No. 2:

           Request 2. Subsidy, Reimbursement, and Rebate Data: Data [in Excel format] and
           reports reflecting subsidies, reimbursements, and rebates that You received from CMS
           [Center for Medicare and Medicaid Services], including but not limited to prescription drug
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           event (“PDE”) reports and all PDE payment records reflecting reimbursements and
           payments for valsartan-containing drugs, and other standard reports and data available
           through CMS which reflect payments made or received by You for any prescription drugs
           for Insureds enrolled in Your Plans during the Relevant Time Period, such as Monthly
           Membership Summary Reports, Plan Payment Reports, [and] Payment/Interim Plan
           Payment Records Reports.

  [Dkt. 2178-1 at 2 (emphasis added)]. The TPP Defendants identified with specificity in their

  supporting brief a list of the fourteen responsive reports and datasets encompassed by Request No.

  2 (the “14 Reports and Datasets”):

           •        Monthly Membership Reports (MMR)
           •        Monthly Membership Summary Data Reports (MMSR)
           •        Monthly Membership Summary Data Files (MMSD)
           •        Plan Payment Reports (PPR)
           •        Plan Payment Report/Interim Payment Data Files (IPPR)
           •        Payment Records Reports
           •        Payment Reconciliation System (PRS) annual reports detailing the annual
                    reconciliation based on PDE records
           •        Risk Adjustment System (RAS) Prescription Drug Hierarchical Condition
                    Category (RxHCC) Model Output Data Files
           •        RAS RxHCC Model Output Reports
           •        Medicare Advantage Organization (MAO) 004 Reports – Encounter Data
                    Diagnosis Eligible for Risk Adjustment
           •        Prescription Drug Event (PDE) Submittal File
           •        Prescription Drug Event (PDE) PDFS Response Data File
           •        Prescription Drug Event (PDE) DBC Cumulative Beneficiary Summary Report
           •        COB-OHI files and COB-OHI Supplement Records, which include National Drug
                    Codes (NDCs) submitted by Patient Assistance Programs (PAPs).

  [Id. at 7-8]. MSPRC opposed this request and filed a brief in opposition. [Dkt. 2181].

           The Special Master heard extensive argument from the parties at the October 27, 2022 Case

  Management Conference. The arguments made during that hearing meaningfully inform the

  present dispute, and specifically the recognition of all parties and the Special Master that Request

  No. 2 was inclusive of the 14 Reports and Datasets. See Transcript of Oct. 27, 2022, Case

  Management Conference (“Oct. 27 Tr.”), attached hereto as Exhibit D. Plaintiffs’ counsel first
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  acknowledged that it was relevant to the damages calculation under their own “point of sale”

  measure of damages to identify “what was paid and what was reimbursed,” which requires the

  production of “the historical numbers” and “historical data so that [TPP Defendants] understand

  what the actual dollars are.” Oct. 27 Tr. at 22:14-19. Yet Plaintiffs’ counsel also questioned the

  ability of the TPP Defendants’ experts to “disaggregate” the Medicare subsidy, reimbursement,

  and rebate data and “[t]o tease out in the aggregate what the assignors got from Medicare and how

  it did or did not relate to valsartan,” which Plaintiffs’ counsel insisted was necessary “[f]or the

  aggregate information to be relevant, they have to have a means to disaggregate.” Id. at 30:7-15.

  Plaintiffs then proposed in the “nature of a compromise” that MSPRC produce all of the requested

  reports and data only for “the year of the recall,” as well as reports (i.e. the PDE reports) relating

  to subsidies during the “catastrophic and low income” phases of Medicare coverage for two years,

  and then allow TPP Defendants to “come back” and seek more. Id. at 31-21-33:3.

           The TPP Defendants opposed the proposed “compromise,” arguing that the Medicare

  reports and data were demonstrably relevant, and “[t]he opportunity to look at government

  expenditures, the opportunity to determine whether those can be disaggregated, whether those can

  be subtracted from plaintiffs’ assessed damages calculation … is directly relevant to what is at

  issue in this case.” Id. at 36:24-38:2. The TPP Defendants expressly referenced the 14 Reports and

  Datasets as “the specific reports and specific datasets we believe are responsive to request number

  2” listed in the TPP Defendants’ motion, and noted that these 14 Reports and Datasets are all “pre-

  baked” and accessible and Plaintiffs had made no showing that it would be burdensome to produce

  them. Id. at 38:20-39:22. Plaintiffs’ counsel then spoke for several more minutes reiterating their

  arguments regarding the disaggregation of data, but never disputed that MSPRC could produce all
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  of the 14 Reports and Datasets, never argued that it would be burdensome to do so, and repeated

  the proposed compromise to produce all of the materials requested for one year and certain

  categories for two years. Id. at 39:23-43:1.

           The Special Master then asked the TPP Defendants’ counsel to further address Plaintiffs’

  proposal to produce “limited data,” and the TPP Defendants’ counsel again noted that the request

  was seeking “14 specific data reports and 14 specific datasets over a limited period of time,” and

  producing those 14 Reports and Datasets “over the full period of time versus producing it over a

  year or two, you’re talking about essentially the same amount of efforts. So it is a limited amount

  of data, but it will enable our experts to undertake a comprehensive analysis.” Id. at 45:16-22.

           Following briefing and argument, the Special Master entered SMO 73 granting the TPP

  Defendants’ Motion to Compel with respect to Request No. 2. The Special Master found, “The

  extent to which such payments [by TPPs for at-issue valsartan drugs] were offset by subsidies,

  reimbursements or rebates from CMS appears clearly relevant to the determination of actual

  damages sustained by the alleged contamination of the VCDs.” SMO 73 at 3-4 (citing In re

  Namenda Indirect Purchaser Antitrust Litig., 115CV6549CMRWL, 2022 WL 3362429, at *11

  (S.D.N.Y. Aug. 15, 2022)). The Special Master also specifically rejected MSPRC’s argument that

  “aggregate” data are not relevant, holding: “The fact that the data are aggregated, and not produced

  on a per product basis, does not defeat the relevance of such data. Indeed, such data may be

  important in contesting damage calculations made by Plaintiff’s experts.” Id. at 4. Thus, the

  Special Master concluded: “Accordingly, MSPRC will be directed to produce the documents

  reflecting the subsidies, reimbursements, and rebates it received from CMS during the time

  period for which it is seeking damages.” Id. (emphasis added).
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           B.       MSPRC Has Violated SMO 73 and CMO 32 by Failing to Produce the
                    Responsive Subsidy, Reimbursement, and Rebate Documents and Data It Was
                    Ordered to Produce

           MSPRC has failed and refused to comply with SMO 73. Although productions were

  temporarily suspended following entry of the Court’s class certification order, the District Court

  resumed discovery with the entry of CMO 32. Among other provisions, CMO 32 directed MSPRC

  to complete its rolling production by May 3, 2023. See CMO 32 § 3.0.

           The May 3 deadline has passed and MSPRC has not produced the substantial majority of

  the 14 Reports and Datasets. As of May 3, MSPRC had produced only a portion of its PDE data,

  omitting PDE claims data for EmblemHealth for date of service year 2014, omitting all PDE data

  for ConnectiCare claims, and omitting all of the other 14 Reports and Datasets encompassed by

  Request No. 2. Thus, the following data and reports (the “Missing Production Materials”) remain

  outstanding:

           •        Prescription Drug Event (PDE) data files for EmblemHealth for date of service year
                    2014
           •        PDE data files for ConnectiCare
           •        Monthly Membership Reports (MMR)
           •        Monthly Membership Summary Data Reports (MMSR)
           •        Monthly Membership Summary Data Files (MMSD)
           •        Plan Payment Reports (PPR)
           •        Plan Payment Report/Interim Payment Data Files (IPPR)
           •        Payment Records Reports
           •        Payment Reconciliation System (PRS) annual reports detailing the annual
                    reconciliation based on PDE records
           •        Risk Adjustment System (RAS) Prescription Drug Hierarchical Condition
                    Category (RxHCC) Model Output Data Files
           •        RAS RxHCC Model Output Reports
           •        Medicare Advantage Organization (MAO) 004 Reports – Encounter Data
                    Diagnosis Eligible for Risk Adjustment
           •        COB-OHI files and COB-OHI Supplement Records, which include National Drug
                    Codes (NDCs) submitted by Patient Assistance Programs (PAPs).

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           MSPRC has never disputed that the 14 Reports and Datasets, including all of the Missing

  Production Materials, are documents “reflecting the subsidies, reimbursements, and rebates” its

  assignors “received from CMS during the time period for which it is seeking damages.” SMO 73

  at 4. Thus, the Missing Production Materials fall within the plain language of SMO 73’s mandate.

  MSPRC’s failure and refusal to produce the Missing Production Materials are consequently a

  direct and clear violation of SMO 73 and CMO 32.

           The TPP Defendants sent a deficiency letter to MSPRC’s counsel and the PEC on May 9,

  2023, demanding compliance by May 12. See Ex. B. Prompt compliance is essential, because the

  TPP Defendants’ damages expert reports are due on June 7, 2023, and the defense experts need

  time to analyze the Missing Production Materials. Doing so is likely to require multiple weeks, as

  reflected by the 35-day period between the completion of MSPRC’s rolling production (May 3)

  and the deadline for the TPP Defendants’ damages expert reports (June 7). MSPRC’s delinquent

  production is thus directly impeding expert discovery and progress towards the depositions of

  damages experts as ordered by CMO 32. The TPP Defendants also offered to meet-and-confer,

  and provided dates and times from May 10-12.

           MSPRC responded on May 12, 2023. See Ex. C. It refused to produce any of the Missing

  Production Materials. Disregarding the plain language of SMO 73, as well as Request No. 2, the

  parties’ briefs, and the arguments made by Plaintiffs’ counsel at oral argument, MSPRC now

  asserts it has complied with SMO 73, insists it is not required to produce data “in the format that

  Defendants would have liked or the precise form to which Defendants believe they are entitled,”

  and states that SMO 73 “didn’t order the data to be produced on a specific form[.]” Ex. C at 1-2.


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           These contentions are simply false. SMO 73 is not ambiguous. It directs MSPRC to

  produce “the documents reflecting the subsidies, reimbursements, and rebates” its assignors

  received from CMS during the relevant time period. SMO 73 at 4. The Missing Production

  Materials indisputably fit this description. Nor was there ever any question as to their inclusion in

  Request No. 2. The request itself specifically sought all data and reports “reflecting subsidies,

  reimbursements, and rebates” received from CMS, including “standard reports and data available

  through CMS … such as Monthly Membership Summary Reports, Plan Payment Reports, [and]

  Payment/Interim Plan Payment Records Reports.” [Dkt. 2178-1 at 2 (emphasis added)]. More

  than that, the TPP Defendants specifically listed the 14 Reports and Datasets in their Motion to

  Compel as the list of “standard reports and data” responsive to Request No. 2. [Id. at 7-8]. Further,

  the TPP Defendants repeatedly referenced these 14 Reports and Datasets as responsive at oral

  argument, without contradiction by MSPRC when it proposed its rejected “compromise” of one

  year of responsive reports and data. Rule 34 requires MSPRC to produce the responsive materials

  in its “possession, custody, or control,” not the cherry-picked items it deems sufficient after being

  ordered to comply with Request No. 2. Fed. R. Civ. P. 34(a)(1). This is not a matter of failing to

  produce responsive documents or data in the format the TPP Defendants “would have liked,” but

  rather a direct violation of the clear and unambiguous mandate of SMO 73.

           MSPRC’s excuses for its violations of SMO 73 have no merit. First, MSPRC points to

  certain “excel sheets” it produced, which it claims “show[] all the payments that it received from

  CMS that could relate to the claims at issue.” Ex. C at 2. MSPRC further asserts that the TPP

  Defendants “fail to identify what additional data they hope to glean from the fourteen specific

  forms that they identify in their letter” or “how that data would be any different from the data that
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  MSPRC has already produced[.]” Ex. C at 2. The TPP Defendants are not required, of course, to

  make yet another showing that the 14 Reports and Datasets are relevant; SMO 73 already decided

  that issue and ordered them produced.

           Regardless, MSPRC’s position is deeply disingenuous. As MSPRC is well aware, its “excel

  sheets” contain nowhere close to the same level of detail available in the 14 Reports and Datasets.

  The excel sheets (which are designated confidential and therefore are not attached to this letter,

  but will be made available to the Special Master on request), present data at the highest and least

  useful level of abstraction. They contain only contract-level summaries of direct subsidies and

  certain other amounts at the broadest level of aggregation. They contain no beneficiary-level detail

  at all, such as hierarchical condition categories (“HCCs”), diagnosis codes, or beneficiary-specific

  direct subsidy payment amounts. These are the essential details necessary to perform the

  “disaggregation” that Plaintiffs themselves argued must be undertaken in order to render the

  subsidy, reimbursement, and rebate data relevant to damages. Oct. 27 Tr. at 30:7-15.

           Plaintiffs’ motives for violating SMO 73 are clear: they seek to protect their damages

  expert from criticism by depriving the TPP Defendants’ damages experts of the very beneficiary-

  level data and detail necessary to demonstrate the relevance of the Medicare subsidies,

  reimbursements, and rebates to Plaintiffs’ damages calculations, and the errors of Plaintiffs’

  damages expert in failing to account for them. That is invalid. MSPRC’s obligation is to produce

  the responsive documents “in the responding party’s possession, custody, or control,” not just the

  least useful and least informative iteration of responsive data that MSPRC is able to identify and

  is willing to supply in defiance of a court order. Fed. R. Civ. P. 34(a)(1).


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           Second, MSPRC asserts that “many” of the Missing Production Materials “would include

  data that the Court expressly held that MSPRC did not have to produce, such as highly confidential

  information related to the assignors’ bids.” Ex. C at 2. MSPRC never previously objected to

  producing any of the 14 Reports and Datasets on this basis and offers no explanation for it now. It

  is non-sensical. What SMO 73 held MSPRC did not have to produce was “CMS bids,” comprised

  of all materials “submitted in connection with … bid submissions to CMS” for each contract year.

  SMO 73 at 2, 5. The Special Master specifically distinguished bid submissions, which deal with

  “estimated receipts and expenditures,” from “what actually occurred, as opposed to what was

  estimated or projected to happen.” Id. at 5-6 (emphasis in original). None of the Missing

  Production Materials deal with “estimated” or “projected” receipts or expenditures; they are all

  historical reports of “what actually occurred.” The Missing Production Materials are the very

  records of “what was paid and what was reimbursed” that Plaintiffs’ counsel has acknowledged to

  be relevant as “historical numbers” and “historical data.” Oct. 27 Tr. at 22:14-19.

           Third, MSPRC acknowledges it has not produced EmblemHealth PDE data for 2014, but

  asserts only that EmblemHealth “has provided all the PDE data that it possesses for the claims at

  issue,” and states “MSPRC cannot produce what does not exist.” Ex. C at 1. Although that is

  undoubtedly true, it raises significant concerns as to why EmblemHealth retained and produced

  PDE data for 2013 and 2015 to 2017, but not 2014. EmblemHealth’s failure to retain and produce

  relevant data requires more explanation to the TPP Defendants and the Special Master than a bare

  denial that the data and records exist.

           Fourth, MSPRC misleadingly asserts that it is not required to produce PDE data for

  ConnectiCare, because SMO 73 relates to the claims “assigned to MSPRC” by two TPPs,
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  EmblemHealth and Summacare. What MSPRC omits is the fact that ConnectiCare is a subsidiary

  of EmblemHealth, and Plaintiffs’ own damages expert has included ConnectiCare’s claims data

  and a calculation for ConnectiCare’s damages as part of her damages calculation for the claims

  assigned to MSPRC by EmblemHealth. Plaintiffs cannot have it both ways. If ConnectiCare’s

  claims are part of EmblemHealth’s claims for purposes of calculating MSPRC’s damages, then

  ConnectiCare’s reports and data must be produced as part of EmblemHealth’s production for

  purposes of evaluating EmblemHealth’s damages calculation.

           C.       MSPRC’s Violations Warrant an Order to Show Cause Why MSPRC Should
                    Not Be Subject to Sanctions and Other Relief

           MSPRC’s violations of SMO 73 and CMO 32 support sanctions under Rule 37(b)(2)(A),

  which authorizes the Court to impose sanctions if a party “fails to obey an order to provide or

  permit discovery[.]” Fed. R. Civ. P. 37(b)(2)(A). Here, SMO 73 ordered MSPRC to provide

  discovery and CMO 32 set a deadline for MSPRC to do so. MSPRC violated both orders. Sanctions

  at the Court’s disposal include, but are not limited to, “prohibiting the disobedient party from

  supporting or opposing designated claims or defenses, or from introducing designated matters in

  evidence,” “striking pleadings in whole or in part,” “staying further proceedings until the order is

  obeyed,” “dismissing the action or proceeding in whole or in part,” or “treating as contempt of

  court the failure to obey any order except an order to submit to a physical or mental examination.”

  Id. Instead of or in addition to the foregoing sanctions, “the court must order the disobedient party,

  the attorney advising that party, or both to pay the reasonable expenses, including attorney’s fees,

  caused by the failure, unless the failure was substantially justified or other circumstances make an

  award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C).

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           Rule 37 sanctions “are available to the district court ‘not merely to penalize those whose

  conduct may be deemed to warrant such a sanction, but to deter those who might be tempted to

  such conduct in the absence of such a deterrent[.]’” Wachtel v. Health Net, Inc., 239 F.R.D. 81, 84

  (D.N.J. 2006) (quoting Nat’l Hockey League v. Metro. Hockey Club, 427 U.S. 639, 643 (1976)).

  The Court “has broad discretion regarding the type and degree of sanctions it can impose,” so long

  as the sanctions are “just and related to the claims at issue.” Id. (citing Estate of Spear v. Comm’r

  of Internal Revenue Serv., 41 F.3d 103, 109 (3d Cir. 1994)). See also Harris v. City of Philadelphia,

  47 F.3d 1311, 1330 (3d Cir. 1995).

           Appropriate sanctions for MSPRC’s violations of SMO 73 and CMO 32 include:

  (1) striking Plaintiffs’ damages report and prohibiting Plaintiffs from presenting a damages

  calculation in reliance upon that report; (2) disqualifying MSPRC from serving as a class

  representative; (3) staying proceedings until MSPRC complies with SMO 73; (4) holding MSPRC

  in contempt for its failure to comply with SMO 73 and CMO 32; and (5) ordering MSPRC to pay

  the reasonable expenses, including attorney’s fees, caused by its failure to comply with SMO 73

  and CMO 32. Any or all of these sanctions are just and related to the claims at issue, insofar as

  MSPRC’s failure to comply with SMO 73 has substantially prejudiced the TPP Defendants’ ability

  to evaluate Plaintiffs’ damages report, to prepare their responsive expert damages reports, and to

  comply with the deadlines set forth in CMO 32 for expert disclosures and depositions. In the first

  instance, however, MSPRC should be ordered to show cause why it should not be sanctioned for

  its violations of SMO 73 and CMO 32, the TPP Defendants can reply, and the Special Master may

  then take the issue up for resolution or for recommendation to the District Court, as appropriate.


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           D.       The June 7, 2023 Deadline for the TPP Defendants’ Damages Expert Reports
                    and Schedule for Deposing Damages Experts Should Be Extended Until 35
                    Days After MSPRC Complies with SMO 73

           MSPRC’s violations of SMO 73 and CMO 32 also directly impact the schedule set out by

  the District Court in CMO 32. Under CMO 32, as modified by CMO 32A on April 27, 2023 [Dkt

  2368], the TPP Defendants are required to “submit their response to the report of plaintiffs’

  damages expert Dr. Rena Conti” by June 7, 2023. CMO 32A § 8.1. The parties are also to “submit

  a schedule for deposing the damages experts” by June 7, 2023. Id. § 8.2.

           For the reasons described above, MSPRC’s failure to produce the Missing Production

  Materials has directly impacted the ability of the TPP Defendants’ damages experts to complete

  their responses to Dr. Conti’s damages report. In particular, the TPP Defendants’ experts cannot

  complete their analysis regarding the impact of Medicare subsidies, reimbursements, and rebates

  upon Dr. Conti’s damages calculations, because MSPRC’s violation of SMO 73 and CMO 32 has

  deprived them of timely access to the reports and datasets necessary to this analysis.

           If MSPRC had timely produced the Missing Production Materials by May 3, 2023, as

  directed by CMO 32, the TPP Defendants’ experts would have had 35 days to analyze the materials

  and to incorporate them into their expert reports. Accordingly, to mitigate the prejudice created by

  MSPRC’s violations, the TPP Defendants’ deadline of June 7 to submit their responsive reports

  and to submit a schedule for deposing the damages experts should be extended until 35 days after

  MSPRC complies in full with SMO 73.

                4. Pharmacy Discovery

           The Pharmacy Defendants submitted their status update letter to Your Honor on May 10,

  2023. [Dkt. 2373]. On the morning of Thursday, May 11, 2023, the Pharmacy Defendants emailed
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  counsel for Plaintiffs a proposed Order to Plaintiffs regarding HIPAA compliance of protected

  health information (the “Proposed Order”) and a request to meet and confer further regarding that

  Proposed Order and other outstanding discovery issues. See K. Kapke Email & Attachment

  thereto, attached hereto as Exhibit E. As of the time of this Letter, Plaintiffs have not responded

  to that request for an additional meet and confer or provided comments on the Proposed Order.

           On the afternoon of Thursday, May 11, 2023, after reviewing Plaintiffs’ Motion for

  Approval of Form and Manner of Class Notice [Dkt. 2375] and the accompanying exhibits, the

  Pharmacy Defendants sent Plaintiffs’ counsel additional correspondence seeking clarification on

  whether Plaintiffs intended to use the requested protected health information for class notice

  purposes. See Letter from K. Richer, attached hereto as Exhibit F. The Pharmacy Defendants

  had prepared the Proposed Order consistent with Plaintiffs’ repeated references that they sought

  to use the protected health information for class notice purposes. [See, e.g., Letter from R. Honik,

  Dkt. 2338, requesting information “to facilitate the class notice process”].

           The Pharmacy Defendants participated in a meet and confer with Plaintiffs on Friday, May

  12, 2023. During that call, Plaintiffs’ counsel indicated that their exclusion of direct-to-consumer

  notice in the Notice Plan was intentional at this point because they were unclear on what data they

  would receive from the Pharmacy Defendants. To the extent that Plaintiffs suggested that their

  exclusion of direct-to-consumer notice within the Class Notice Plan was in any way because of

  improper delay on behalf of the Pharmacy Defendants, we strongly reject—and are frankly puzzled

  by—that suggestion.




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           The Pharmacy Defendants initially produced dispensing data without individual patient

  identifiers pursuant to the parties' negotiated agreement, memorialized in the Request for

  Production, that this information would be produced in redacted or anonymized format due to

  HIPAA and privacy concerns. [See RFP Nos. 4 & 5 in Plaintiffs’ Second Amended Set, Dkt. 509-

  1 (“You also may redact protected patient information to address any privacy or HIPAA concerns

  raised by the production of this data, as appropriate.”)]. When the Pharmacy Defendants timely

  produced documents/dispensing data in response to RFP No. 4, they appropriately redacted,

  withheld, or anonymized protected patient information at that point, although counsel for

  Pharmacy Defendants represented to Plaintiffs’ counsel that they could likely produce protected

  health information within 60 or 90 days of a HIPAA-compliant order that directed the Pharmacy

  Defendants to do so. That remains true today, but the first time that the Pharmacy Defendants

  were aware that Plaintiffs sought that production on the same timeline as other discovery requests

  associated with the TPP trial was in Ruben Honik’s April 10, 2023 letter. [See Dkt. 2338-2

  (“Finally, Plaintiffs seek sufficient information to identify individual class members (e.g., names,

  addresses, etc.) for purposes of effectuating class notice.”)]. In response, the Pharmacy

  Defendants did not take issue with the idea of that production, but rather simply raised concern

  about other proposals for general discovery of the Pharmacy Defendants. [See Dkt. 2338-3].

           Again, the Pharmacy Defendants do not object to producing certain, necessary personal

  health information within the dispensing data previously produced, provided that the disclosure

  complies with HIPAA, but the Pharmacy Defendants do need (1) additional time to produce the

  requested information, because it is not as simple as “unredacting” a series of prior redactions; and

  (2) assuming Plaintiffs can articulate the necessity of their request for PHI, a Court Order
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  substantially similar to the one that Pharmacy Defendants have proposed to Plaintiffs but have not

  received a response about yet. Under these conditions, as already discussed with Plaintiffs, the

  Pharmacy Defendants are willing to produce that data within 90 days of entry of a HIPAA-

  compliant order, like the one attached to Ms. Kapke’s May 11 Email (see Ex. E).

                5. Wholesaler Discovery

           In accordance with the Court’s directive at the April 26, 2023, status conference,

  Wholesaler Defendants met and conferred with Plaintiffs’ counsel on multiple occasions and

  submitted their status update letter to Your Honor on May 10, 2023. [Dkt. 2372]. Counsel for

  Wholesaler Defendants will be prepared to address the issues outlined in that letter, as well as in

  Plaintiffs’ corresponding letter [Dkt. 2374], at the status conference on May 17, 2023.




                                                                   Respectfully submitted,

                                                                   /s/ Victoria Davis Lockard

                                                                   Victoria Davis Lockard


  cc:      Adam Slater, Esq. (via email, for distribution to Plaintiffs’ Counsel)
           Jessica D. Miller, Esq. (via email, for distribution to Defendants’ Counsel)
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